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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :      Case No. 1:21-cr-00138-JEB
                                               :
AARON MOSTOFSKY,                               :
                                               :
                       Defendant.              :


               SUPPLEMENTAL MOTION IN LIMINE REGARDING
       AUTHENTICATION OF CONGRESSIONAL VIDEO AND OTHER EVIDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following supplemental motion in limine regarding

the authentication of video evidence at trial. The government anticipates introducing video footage

of some of the Congressional Electoral College certification proceedings up to the point when the

rioters breached the Capitol Building, and after they reconvened to finish the Electoral College

certification hours later. The government further anticipates introducing documentary evidence

from the Congressional Record, approved and signed Congressional Resolutions concerning the

Electoral College Certification Process, and the actual constitutional and statutory authority for the

Electoral College Certification proceedings, of which the Court can take Judicial Notice. This

motion supplements government’s limine motion regarding authentication of video evidence. (Dkt.

84.)

I.      BACKGROUND

        On January 6, 2021, Congress assembled in a Joint Session at the United States Capitol to

declare the winner of the 2020 presidential election by reviewing and certifying the Electoral

College ballots. The defendant was aware of this proceeding, and he wanted to stop it.
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       The United States Senate has an affiliated entity called the Senate Recording Studio that

contemporaneously records Senate proceedings and distributes those recordings to the public. See

https://floor.senate.gov/MediaPlayer.php?view_id=2&clip_id=399, last accessed Dec. 16, 2021:




The Senate Recording Studio recorded the proceedings relating to the Electoral College

Certification on January 6, 2021 up to the point when the rioters breached the Capitol Building

itself and the Senate was forced into recess. See id. Subsequently, the Senate Recording Studio

recorded the Electoral College Certification process after the rioters were cleared from the Capitol

Building and the session resumed. See id. In addition, the Senate recording studio recorded rioters

who were present on the Senate floor during the recess.

II.    ARGUMENT

       A.      Judicial Notice of Federal Electoral College Certification Law

       The government requests that the Court take judicial notice of, and admit into evidence,


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copies of Article II, Section 1 of the Constitution of the United States, the Twelfth Amendment,

and 3 U.S.C. §§ 15-18 relating to the Electoral College Certification Official Proceedings. See

Exhibits 1, 2, 3, 4, 5, and 6. The proceedings that took place on January 6, 2021 were mandated

by, and directed under the authority of, several constitutional and federal statutory provisions. In

fact, as Vice President Pence gaveled the Senate to Order on January 6, 2021 to proceed with the

Electoral College Certification Official Proceeding, he quoted directly from, and cited to, 3 U.S.C.

§ 17. It is well established that district courts may take judicial notice of law “without plea or

proof.” See United States v. Davila-Nieves, 670 F.3d 1, 7 (1st Cir. 2012). The government makes

this request even though the District of Columbia Court of Appeals has said that “[i]nsofar as the

requests pertain to public laws, no motion is required in order for the court to take judicial notice.”

See Moore v. Reno, No. 00-5180, 2000 U.S. App. LEXIS 35425; 2000 WL 1838862 (D.C. Cir.,

Nov. 14, 2000). Further, “where a federal prosecution hinges on an interpretation or application of

state law, it is the district court's function to explain the relevant state law to the jury.” See United

States v. Fazal-Ur-Raheman-Fazal, 355 F.3d 40, 49 (1st Cir. 2004).

        B.      Authentication of Congressional Video

        On January 6, 2021, much of the proceedings taking place on the Senate, and House, floor

was recorded contemporaneously by the Senate Recording Studio. The Senate Recording Studio’s

purpose is to serve the Senate. The Broadcast Studio is comprised of Senate TV, Hearing Rooms,

and a Studio function. Senate TV is comprised of eight cameras which record activity occurring

on the Senate floor. This footage is also broadcast through the Cable-Satellite Public Affairs

Network (CSPAN). The Senate Studio can also capture contemporaneous footage of the House of

Representative proceedings, used for broadcast, when there are joint sessions of Congress. The

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Senate Recording Studio recorded at least three events relevant to this trial: Vice President Michael

Pence gaveling the session to order and reading from Senate Congressional Resolution 1 and 3

U.S.C. § 17 in conjunction with the official proceedings of the Electoral College Certification; the

Senate being gaveled into recess, and resulting evacuation of the Senate Floor Chamber, after

rioters breached the building; and the Joint Session of Congress reconvening to finish the Electoral

College Certification hours later, after the rioters were cleared from the U.S. Capitol. Screen

captures of those events are shown below:

       Electoral College Certification Proceedings:




       Senate Floor when Rioters Enter the Capitol Building:




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       Joint Session when Congress Reconvenes:




The first clip is less than one minute, and the two remaining clips are approximately three minutes

in length.

                1.    Authentication under Rule 901

       The video clips of the Senate and Joint Session proceedings are authenticated under Federal

Rule of Evidence 901.1 Diego Torres is a broadcast technician who works at the Senate Recording

Studio. Mr. Torres was present on January 6, 2021 and worked to preserve the integrity of the

video. He has reviewed the video feed and attests to its authenticity and accuracy. See declaration

of Diego Torres, attached as Exhibit 7. That alone is sufficient to authenticate the video footage.

See Rembert, 863 F.2d at 1026. And, as his declaration makes, clear, the video system is a closed

system and not subject to outside influences or manipulation.


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  To avoid repetition of its analysis of Rule 901, the government relies on the discussion of
authentication in its earlier motion in limine. (Dkt. 84 at 1-5.)
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               2.      Self-authentication under Rule 902

       The Congressional videos are self-authenticating and should be admitted on that basis.

Federal Rule of Evidence 902 governs the authentication of evidence that is “self-authenticating.”

Rule 902 provides, in part, that:

       The following items of evidence are self-authenticating; they require no extrinsic evidence
       of authenticity in order to be admitted:

         ...

       (11) Certified Domestic Records of a Regularly Conducted Activity. The original or a copy
       of a domestic record that meets the requirements of Rule 803(6)(A)–(C), as shown by a
       certification of the custodian or another qualified person that complies with a federal statute
       or a rule prescribed by the Supreme Court. Before the trial or hearing, the proponent must
       give an adverse party reasonable written notice of the intent to offer the record—and must
       make the record and certification available for inspection—so that the party has a fair
       opportunity to challenge them. . . .


       (13) Certified Records Generated by an Electronic Process or System. A record generated
       by an electronic process or system that produces an accurate result, as shown by a
       certification of a qualified person that complies with the certification requirements of Rule
       902(11) or (12). The proponent must also meet the notice requirements of Rule 902(11).

Fed. R. Evid. 902. Pursuant to Rule 902, the government hereby give notice of its intent to offer

the records and submits that the videos are self-authenticating under Rule 902 (11) and (13). See

Certification of Diego Torrez, attached as Exhibit 7.

       The video footage is also self-authenticating under Federal Rule of Evidence 902(5).

Federal Rule of Evidence 902(5) provides, in part, that:

       The following items of evidence are self-authenticating; they require no extrinsic evidence
       of authenticity in order to be admitted:

       ...

       (5) Official Publications. A book, pamphlet, or other publication purporting to be issued
       by a public authority
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Fed. R. Evid 902. The video feed from which the clips are taken are available on the Senate.gov

website. See https://floor.senate.gov/MediaPlayer.php?view_id=2&clip_id=3993, last accessed on

Oct. 20, 2021. Moreover, the declaration of Diego Torres from the Senate Recording Studio

establishes the video as an official publication. It is well established that materials found on a

government public website are self-authenticating under Federal Rule of Evidence 902(5). See

Williams v. Long, 585 F. Supp. 2d 679 (D. Md. 2008). See also Singletary v. Howard Univ., No.

1:17-cv-01198, 2018 U.S. Dist. LEXIS 164945, 2018 WL 4623569 (D.D.C., Sept. 26, 2018), MMA

Consultants 1, Inc. v. Republic of Peru, 245 F. Supp. 3d 486 (S.D.N.Y. 2017) (Congressional

transcripts self-authenticating under Rule 902(5).

               3.     Rule 104 Offer of Proof in Support of Authentication

       The government offers significant evidence in support of authenticity pursuant to Federal

Rule of Evidence 104. Rule 104 provides, in part, that:

       (a) In General. The court must decide any preliminary question about whether a witness is
       qualified, a privilege exists, or evidence is admissible. In so deciding, the court is not bound
       by evidence rules, except those on privilege.

Fed. R. Evid. 104(a) (emphasis added). The government proffers the Exhibits attached establish

the authenticity of the proffered evidence. See United States v. Demosthene, 326 F. Supp. 2d 531

(S.D. N.Y. 2004) (“When ruling on the admissibility of evidence, a court is not bound by the

federal rules of evidence and may rely upon hearsay and other reliable evidence.”).

               4.     Third Party Authentication – Witnesses Can Authenticate the Video

       Any person who witnessed the events depicted in a photograph, or recorded in a video, can

authenticate the evidence. Courts have ruled that “the evidentiary foundation ‘may, but need not

be, supplied by the person taking the photograph or by a person who witnessed the event being
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recorded.’” Taylor v. Sullivan, 2:18-cv-0637, 2019 U.S. Dist. LEXIS 73008, *22 (E.D. CA April

29, 2019) (emphasis added); see also United States v. Blackwell, 694 F.2d 1325, 1330 (D.C. Cir.

1982) (police officer present during search and seizure of photograph properly authenticated

photograph). The District Court in Taylor went on to emphasize that a stricter rule:

       would ignore a fundamental principle underlying authentication . . . . In making the initial
       authenticity determination, the court need only conclude that a prima facie showing has
       been made that the photograph is an accurate representation of what it purports to depict.
       The ultimate determination of the authenticity of the evidence is for the trier of fact, who
       must consider any rebuttal evidence and balance it against the authenticating evidence in
       order to arrive at a final determination on whether the photograph, in fact is authentic.

Id. Here, any witness present during the events recorded, or photographed, can testify that the

events recorded or photographed appear to accurately show the events that took place. That

threshold showing is sufficient to authenticate any video recording or photograph, with the finder

of fact left to determine what weigh should be given to the evidence.

       Moreover, any of the individuals depicted in the videos can authenticate the video, even if

they do not have an independent recollection of the encounter. Penn v. Detweiler, No. 1:18-CV-

00912, 2020 U.S. Dist. LEXIS 38634, 2020 WL 1016203 (E.D. PA, Jan. 22, 2020). See also

Vazquez v. City of Allentown, 689 F. App'x 695, 700 (3d Cir. 2017).2

       C.      Authentication of the Congressional Record and S. Con. Res 1

       The Congressional proceedings on January 6, 2021 were also memorialized in the

Congressional Record. The Congressional Record is also a public record under Federal Rule of

Evidence 902(5). See MMA Consultants 1, Inc. v. Republic of Peru, 245 F. Supp. 3d 486 (S.D.N.Y.



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  The government may also offer similar evidence from the House Recording Studio. See
declaration of Douglas Massengale, attached as Exhibit 8. The government submits that the same
principles would support the authentication of any such evidence.
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2017) (Congressional transcripts self-authenticating under Rule 902(5). The government intends

to introduce portions of the Congressional Record at trial.

       WHEREFORE, the government respectfully requests that this Court grant the motion for

a pre-trial determination that the aforementioned exhibits are authentic and the Federal Rules of

Evidence and admissible at trial.



                                              Respectfully submitted,

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